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   United States of America
 7

 8                                   UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           Case No: 1:24-CR-00110-JLT-SKO

12                                 Plaintiff,            STIPULATION TO CONTINUE SENTENCING;
                                                         ORDER
13                          v.

14   ROMAN RODRIGUEZ,

15                                 Defendant.

16

17

18          THE PARTIES HEREBY STIPULATE, through their respective attorneys of record, Assistant
19 United States Attorney Brittany M. Gunter, counsel for the government, and Monica Bermudez, counsel

20 for Roman Rodriguez (“the defendant”), that this action’s Monday, March 31, 2025, sentencing

21 hearing be continued to Monday, June 16, 2025, at 9:00 a.m. The parties likewise ask the court to

22 endorse this stipulation by way of formal order.

23          The parties base this stipulation on good cause, as follows:
24          1. By previous order, this matter was set for sentencing on March 31, 2025. ECF 24.
25          2. On March 3, 2025, the probation officer assigned to the case for preparing the pretrial
26              services report (“PSR”) indicated she had recently completed the interview of the defendant
27                                                       1
     STIPULATION TO CONTINUE STATUS CONFERENCE AND
28   EXCLUDE TIME UNDER SPEEDY TRIAL ACT
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 1               and needed additional time to prepare the PSR.

 2          3. On March 10, 2025, the parties conferred and determined availability on June 16, 2025, for a

 3               sentencing hearing in this case. The parties confirmed the Court’s availability on that date as

 4               well.

 5          4. Accordingly, the parties request that the Court continue the sentencing hearing in this case to

 6               June 16, 2025.

 7          IT IS SO STIPULATED.

 8
 9   Dated: March 10, 2025                                    MICHELE BECKWITH
                                                              Acting United States Attorney
10

11                                                     By: /s/ BRITTANY M. GUNTER
                                                           BRITTANY M. GUNTER
12                                                         Assistant United States Attorney
13
     Dated: March 10, 2025                            By: _ /s/ MONICA BERMUDEZ                  __
14                                                         MONICA BERMUDEZ
                                                           Attorney for Defendant
15                                                         Roman Rodriguez
16

17                                                   ORDER

18          IT IS ORDERED that the sentencing hearing currently set for March 31, 2025, is continued to
19 June 16, 2025, at 9:00 a.m.

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21 IT IS SO ORDERED.

22
        Dated:     March 10, 2025
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27                                                        2
     STIPULATION TO CONTINUE STATUS CONFERENCE AND
28   EXCLUDE TIME UNDER SPEEDY TRIAL ACT
